             Case 3:18-cv-00939-SI   Document 99   Filed 11/05/20    Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



PETER SZANTO,                                  Case No.    3:18-cv-939-SI LEAD
                                                           3:18-cv-940-SI Consol.
                 Appellant,                                3:18-cv-941-SI Consol.
                                                           3:18-cv-942-SI Consol.
        v.                                                 3:18-cv-943-SI Consol.
                                                           3:18-cv-944-SI Consol.
JPMORGAN CHASE, N.A., et al.,                              3:18-cv-945-SI Consol.
                                                           3:18-cv-946-SI Consol.
                 Appellees.                                3:18-cv-947-SI Consol.
                                                           3:18-cv-948-SI Consol.
                                                           3:18-cv-949-SI Consol.
                                                           3:18-cv-950-SI Consol.

                                               (Bankr. Ct. Case No. 16-33185-pcm7)
                                               (Adv. Pro. No. 16-3118-pcm)

                                               JUDGMENT


       Based on the Court’s OPINION AND ORDER affirming the Bankruptcy Court’s

decisions,

       IT IS ADJUDGED that this case is DISMISSED with prejudice.

       DATED this 5th day of November, 2020.

                                               /s/ Michael H. Simon
                                               Michael H. Simon
                                               United States District Judge




PAGE 1 – JUDGMENT
